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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

BETH CHANEY MACNEILL                             §
     Plaintiff                                   §
                                                 §
v.                                               §
                                                 §
NIRMAL JAYASEELAN, M.D.,                         §
DOMINGO K. TAN, M.D., CHAD                       §           CIVIL ACTION NO. 4:14-CV-242-O
CARLTON, M.D., TEXAS HEALTH                      §
HARRIS METHODIS HOSPITAL FORT                    §
WORTH, EMERGENCY MEDICINE                        §
CONSULTANTS LTD., BAYLOR ALL                     §
SAINTS MEDICAL CENTER AT FORT                    §
WORTH, AND EMCARE, INC.                          §
     Defendants                                  §


      TEXAS HEALTH HARRIS METHODIST HOSPITAL FORT WORTH’S MOTION
      FOR PARTIAL DISMISSAL FOR FAILURE TO SERVE CHAPTER 74 EXPERT
                      REPORT AND BRIEF IN SUPPORT


TO:      THE HONORABLE REED O’CONNOR, UNITED STATES DISTRICT COURT
         JUDGE FOR THE NORTHERN DISTRICT OF TEXAS

         COMES NOW DEFENDANT Texas Health Harris Methodist Hospital Fort Worth

(hereinafter, “THHMFW” or “Defendant”) and, pursuant to TEX. CIV. PRAC & REM. CODE §

74.351(b), files this Motion for Partial Dismissal for Failure to Serve Chapter 74 Expert Report and

Brief in Support. In support of this Motion, Defendant would respectfully show this Honorable

Court the following:

                                             I.
                                       INTRODUCTION

1.0      Plaintiff has filed both an Emergency Medical Treatment and Active Labor Act

(“EMTALA”) claim under 42 U.S.C.A. § 1395dd and a health care liability claim under Chapter 74

of the Texas Civil Practice and Remedies Code against the Defendant. Accordingly, pursuant to


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Section 74.351(a) of the Texas Civil Practice & Remedies Code, in order to pursue the health care

liability claim, Plaintiff was required to file an expert report within 120 days of the date that

Defendant’s answer was filed. See TEX. CIV. PRAC & REM. CODE § 74.351(a). Even under the most

lenient reading of that requirement, Plaintiff’s expert report was due by October 1, 2014. To date,

no expert report has been filed. Consequently, Defendant seeks to have the Court dismiss with

prejudice the health care liability claim (not the EMTALA claim) asserted against it by Plaintiff and

award such other relief permitted by statute. See TEX. CIV. PRAC & REM. CODE § 74.351(b).

                                                II.
                                            BACKGROUND

2.0      Plaintiff filed her Original Complaint on April 8, 2014 and Defendant answered on May 2,

2014. Plaintiff subsequently filed her Amended Complaint on May 21, 2014 confirming that she

was making an alternative claim against the Defendant for negligence arising from her care and

treatment on April 28, 2012. Defendant filed its Amended Answer on June 3, 2014. Even

assuming the 120-day period did not begin running until Defendant filed that Amended Answer, the

120-day period ran no later than October 1, 2014.

2.1      To date, Plaintiff has not filed an expert report against the Defendant, nor have any

agreements been reached to extend the filing deadline.

                                           III.
                                 ARGUMENT AND AUTHORITIES

3.0      Section 74.351(a) of the Texas Civil Practice and Remedies Code requires:

         In a health care liability claim, a claimant shall, not later than the 120th day after the
         date each defendant’s original answer is filed, serve on that party or the party’s
         attorney one or more expert reports, with a curriculum vitae of each expert listed in
         the report for each physician or health care provider against whom a liability claim is
         asserted.




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TEX. CIV. PRAC & REM. CODE § 74.351(a). If an expert report has not been served within the 120

day period the court, on motion of the health care provider, shall enter an order that awards the

health care provider reasonable attorney’s fees and costs of court incurred by the health care

provider and dismiss the claim against the health care provider with prejudice to the refiling of

same. See id. at § 74.351(b).

3.1      Federal courts, including the present Court, have found that it is appropriate to assess and

apply Texas substantive law when addressing the expert report requirement in health care liability

claims. As this Court noted in Estate of Henson v. Wichita County: “If an expert report has not

been served as required, upon motion by a defendant, a court must dismiss the claim, with respect to

the physician or health care provider with prejudice to refiling.” 652 F. Supp. 2d 730, 748-49 (N.D.

Tex. 2009) (emphasis added). See also, Prentice v. U.S., 2013 U.S. Dist. Lexis 158035 (N.D. Tex.

2013) (holding that this report requirement does not conflict with federal law and required dismissal

of the plaintiff’s medical claims against the United States); Privett v. U.S., 2013 U.S. Dist. Lexis

182790 (E.D. Tex. 2013) (noting that this expert report requirement is a “substantive hurdle for

frivolous medical liability suits” and dismissing the plaintiff’s claims against the United States);

Cruz v. Chang, 400 F. Supp. 2d 906, 911-13 (W.D. Tex. 2005) (citing the predecessor statute to

Chapter 74 when addressing the substantive nature of the statute).

3.2      In the present case, Defendant filed its Answer on May 2, 2014, and its Amended Answer

on June 3, 2014, requiring the filing of an expert report no later than October 1, 2014. TEX. CIV.

PRAC & REM. CODE § 74.351(a). To date, no expert report has been filed by Plaintiff in compliance

with the strict requirements of Section 74.351(a). Accordingly, as mandated by Section 74.351(b),

this Court must dismiss the Plaintiff’s health care liability claim she has asserted against the




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Defendant and grant the other relief statutorily indicated under Section 74.351(b). See id. at

74.351(b).

        WHEREFORE, PREMISES CONSIDERED, Defendant respectfully prays that this

Honorable Court dismiss Plaintiff’s health care liability claim against Texas Health Harris

Methodist Hospital Fort Worth with prejudice to the refiling of same, and grant the other statutory

relief permitted under Section 74.351(b) of the Texas Civil Practice and Remedies Code. Defendant

further prays for an award of all such further relief, whether in law or equity, to which Defendant

may show itself to be justly entitled.



                                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 17, 2014, I electronically filed the foregoing document

with the clerk for the U. S. District Court, Northern District of Texas, using the Electronic Case

Filing system of the Court. The Electronic Case Filing System sent a “Notice of Electronic Filing”

to the following attorneys of record who have consented in writing to this Notice as service of this

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